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                      IN THE UNITED STATES COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TASHANIQUE NICOLE CROSBY,                 :       CIVIL ACTION
                                          :
              Plaintiff                   :
                                          :
              v.                          :
                                          :
ANDREW M. SAUL,                           :       No. 20-cv-02022-RAL
Commissioner of Social Security,          :
                                          :
       Defendant                          :


                             MEMORANDUM OPINION

RICHARD A. LLORET                                               September 17, 2020
U.S. MAGISTRATE JUDGE

       Tashanique Nicole Crosby was denied social security benefits by the decision of

an Administrative Law Judge (“ALJ”). Ms. Crosby filed a complaint but had not yet filed

a brief setting forth the specific grounds for her claim. Doc. No. (Complaint). Prior to

filing the Administrative Record, the Commissioner of Social Security (“Commissioner”)

conceded that further evaluation of Plaintiff’s disability claim is warranted, and he

requested that this case be remanded. Doc. No. 9 (Defendant’s Uncontested Motion to

Remand). The Commissioner has represented that Ms. Crosby’s counsel consented to

his request. See id.

       Because the parties agree that the ALJ erred in the evaluation of Ms. Crosby’s

disability claim, Ms. Crosby’s request for review is granted, the final decision of the
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Commissioner is reversed, and this matter is remanded to the Commissioner further

proceedings.



                                             BY THE COURT:



                                             __s/Richard A. Lloret _________
                                             RICHARD A. LLORET
                                             U.S. Magistrate Judge
